Case 1:18-cV-02718-RDI\/| Document 60 Filed 01/04/19 Page 1 of 2

IN THE UNITED S'I`ATES DISTRICT COUR'I`
FOR THE D[STRICT OF COLUMBIA

O.A.. el m".,
Civil Action No. l:lS-cv-UZ? l S-RDM
Pfaint:]_)"s._

DONALD J. TRUMP, et af.,

Defe adams .

 

 

CERTIFICATION PURSUANT T() LOCAL CIVIL RULE 83.2(2)

I. Charles George Roth._ hereby certify under Loca| Civil Rule 83.2(g) of`the United
States District Court for the District of` Cofumbia, that:

|. I am a member in good standing of`thc Bar 01` the New York State Supremc
Court, 3d Dept. My bar number is 2839041.

2. I am employed by the National Immigrant Jtlstice Center. a program oi`thc
Heart|and Allianee for Human Needs and Human Rights.

3. lam representing Plaintiffs O.A._. K.S._. A.V._. G.Z.._ D.S., C.A.. P.R., D.R., and
G.R. in this case without compensation from the Plaintil`i`s.

4. l am not the sole attorney in this mattcr. l am co-eounsel with. among other
attomeys, Thomas G. Hentoffof`Wil|iams & Conno|ly LLP, and Ana C. Reyes o!"Wiliiams &
Conno|ly LLP, who are members ofthe Bar ofthe United States l)istrict Court for the Distriet of

Cqurnbia.

RECEIVED

JAN - li 2019

Glark, U.S. Ulstnr.t 81 Bankruptc\;
Cnnrts lor the District ot Corumbia

Case 1:18-cV-O2718-RDI\/| Document 60 Filed 01/04/19 Page 2 of 2

.\

..1@::¢1*1\';:

 

